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                    Exhibit F
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                                        Full deacylation of polyethylenimine dramatically
                                        boosts its gene delivery efficiency and specificity
                                        to mouse lung
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                                        Contributed by Alexander M. Klibanov, March 12, 2005

                                        High-molecular-mass polyethylenimines (PEIs) are widely used                  ethylenimines (PEIs) (14, 15), are inferior to their viral coun-
                                        vectors for nucleic acid delivery. We found that removal of the               terparts in the efficiency and specificity of nucleic acid delivery.
                                        residual N-acyl moieties from commercial linear 25-kDa PEI en-                   In the present study, we show that commercial preparations of
                                        hanced its plasmid DNA delivery efficiency 21 times in vitro, as well         linear PEI (molecular mass ⫽ 25 kDa) contain residual N-acyl
                                        as 10,000 times in mice with a concomitant 1,500-fold enhance-                groups, which severely handicap nucleic acid transfection. Re-
                                        ment in lung specificity. Several additional linear PEIs were syn-            moval of the residual N-acyl groups dramatically enhances DNA
                                        thesized by acid-catalyzed hydrolysis of poly(2-ethyl-2-oxazoline),           transfection efficiency of this PEI. Consistent with these find-
                                        yielding the pure polycations. PEI87 and PEI217 exhibited the                 ings, three additional linear PEIs, synthesized ab initio in the
                                        highest efficiency in vitro: 115-fold and 6-fold above those of the           nonacylated form, exhibited remarkable DNA and short inter-




                                                                                                                                                                                                                 APPLIED BIOLOGICAL
                                        commercial and deacylated PEI25s, respectively; moreover, PEI87               fering RNA (siRNA) delivery efficiency and specificity. As a
                                        delivered DNA to mouse lung as efficiently as the pure PEI25 but              demonstration of their therapeutic potential, we show that




                                                                                                                                                                                                                      SCIENCES
                                        at a lower concentration and with a 200-fold lung specificity. These          influenza virus infection in the lungs of mice is inhibited 94% by
                                        improvements stem from an increase in the number of protonat-                 siRNA delivered with PEI lacking N-acyl groups.
                                        able nitrogens, which presumably results in a tighter condensation
                                        of plasmid DNA and a better endosomal escape of the PEI兾DNA                   Materials and Methods
                                        complexes. As a validation of the potential of such linear, fully             Chemicals and General Methods. Branched PEI25 and 50-kDa and
                                        deacylated PEIs in gene therapy for lung diseases, systemic delivery          500-kDa poly(2-ethyl-2-oxazoline)s (PEOZs) were from Sigma–
                                        in mice of the complexes of a short interfering RNA (siRNA) against           Aldrich. Commercial linear PEI25 and 200-kDa PEOZ were
                                        a model gene, firefly luciferase, and PEI25 or PEI87 afforded a 77%           from Polysciences. NMR spectra were recorded by using a
                                        and 93% suppression of the gene expression in the lungs, respec-              Varian Mercury 300-MHz NMR spectrometer with chemical
                                        tively. Furthermore, a polyplex of a siRNA against the influenza              shifts expressed with reference to the water peak in 2H2O (4.80
                                        viral nucleocapsid protein gene and PEI87 resulted in a 94% drop              ppm). Elemental analyses were performed by MHW Laborato-
                                        of virus titers in the lungs of influenza-infected animals.                   ries (Phoenix, AZ).

                                        influenza 兩 linear polyethylenimine 兩 short interfering RNA 兩 flu therapy 兩   Plasmids and siRNA. The plasmids gWiz ␤-gal and gWiz Luc
                                        transfection                                                                  containing the ␤-gal and luciferase genes, respectively, driven by
                                                                                                                      the human CMV promoter, were obtained from Aldevron
                                                                                                                      (Fargo, ND) as 5.0-mg兾ml stock solutions in water. The plasmid
                                        N     ucleic acid-based medical intervention promises revolution-
                                              ary advances in the treatment of human diseases. Originally
                                        aimed to correct genetic disorders, such as hemophilia (1) and
                                                                                                                      pd1GL3-RL containing two Luc genes, firefly and Renilla Luc
                                                                                                                      (denoted as GL3 and RL, respectively, in the plasmid acronyms),
                                        cystic fibrosis (2), and therefore termed gene therapy, this                  driven by two CMV promoters, was prepared as follows. D1GFP
                                        pharmaceutical strategy has broadened its scope significantly as              from the parental vector pd1EGFP-N1 (BD Biosciences) was
                                        both DNA and RNA have emerged as potential therapeutic                        replaced by the GL3 gene cut from pGL3-Basic (Promega). This
                                        agents against many nongenetic diseases. Not only can defective               modified pd1 vector was then cut at the AseI site upstream of the
                                        genes, in principle, be corrected by functional ones, but also                CMV promoter and blunted. Separately, the RL gene, together
                                        unwanted gene expression can be inhibited to provide thera-                   with its own CMV promoter (CMV-RL), was cut from pRL-
                                        peutic benefits, as exemplified by the use of RNA interference                CMV vector (Promega) and blunted, followed by insertion into
                                        (3). Consequently, the nucleic acid-based treatments are being                the pd1 vector mentioned above to obtain pd1GL3-RL. This
                                        developed for such acquired illnesses as cancer (4), heart disease            plasmid was propagated in Escherchia coli DH5␣ (Kan兾Neo
                                        (5), neurodegenerative disorders (6), and infectious diseases (7).            selection).
                                           Nucleic acids typically exert their therapeutic effect inside the             siRNAs, from Dharmacon (Lafayette, CO), had the following
                                        cell. Consequently, delivery issues, such as crossing the plasma              sequences. GFP-siRNA: sense, 5⬘-GGCUACGUCCAGGA
                                        membrane and endosomal escape, are obstacles in nucleic                       GCGCAUU-3⬘; complementary strand, 5⬘-UGCGCUCCUG-
                                        acid-based therapies (8). Biological vectors, namely viruses, are             GACGUAGCCUU. NP-siRNA (in which NP is inf luenza
                                        used in most of the ongoing clinical trials (www.wiley.co.uk兾                 nucleocapsid protein): sense, 5⬘-GGAUCUUAUUUCUUC
                                        genetherapy兾clinical). However, safety concerns associated with               GAGdTdT-3⬘; complementar y strand, 5⬘-CUCCGA A-
                                                                                                                      GAAAUAAGAUCCdTdT-3⬘. fLuc-siRNA (in which fLuc is
                                        viral vectors, such as induction of immune reactions (9, 10) [some
                                        leading to death (10)], cancers due to insertional mutagenesis
                                        (11), and the appearance of viruses in the semen of the treated               Abbreviations: PEI, polyethylenimine; PEIn, PEI with molecular mass n (in kDa); PEOZ,
                                        patients (12), threaten their clinical utility. Therefore, nonviral           poly(2-ethyl-2-oxazoline); siRNA, short interfering RNA; NP, nucleocapsid protein; fLuc,
                                        vectors, in particular, cationic liposomes (13) and polycations (4,           firefly luciferase; EtdBr, ethidium bromide.
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                                        8), are being explored as alternatives. However, these synthetic              ¶To   whom correspondence should be addressed. E-mail: klibanov@mit.edu.
                                        vectors, including even the best ones, high-molecular-mass poly-              © 2005 by The National Academy of Sciences of the USA



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                                        firef ly luciferase): sense, 5⬘-CUUACGCUGAGUACUUC-                   Cytotoxicity Measurements. Cells were cultured as described
                                        GAT T-3⬘; complementar y strand, 5⬘-UCGA AGUACU-                     above. PEI solutions, prepared as above except that DNA was
                                        CAGCGUAAGTT-3⬘.                                                      omitted, were added at 1 ml per well. Control cells were treated
                                                                                                             with medium alone. After incubation at 37°C in a humidified-air
                                        Synthesis. Fully deacylated linear PEI25 was prepared by the         atmosphere (5% CO2) for 24 h, the medium was removed, and
                                        acid-catalyzed hydrolyses of the commercial, incompletely            the cells were treated with 1.0 ml of Ham’s F12K medium
                                        deacylated PEI25. Separately, 22-, 87-, and 217-kDa linear PEIs      containing 0.5 mg兾ml 3-(4,5-dimethylthiazol-2-yl)-2,5-diphe-
                                        without N-acyl groups were synthesized from commercial               nyltetrazolium bromide (Sigma–Aldrich) and assayed (14). The
                                        PEOZs. Typically, 1.2 g of the PEI25 (89% deacylated based on        results were expressed as mean ⫾ SD (n ⫽ 6).
                                        NMR) or 3.0 g of the PEOZs was added to 120 ml of 24%
                                        (wt兾vol) HCl, followed by refluxing for 96 h. The first reaction     Gene Delivery in Mice. All animal experiments adhered to the
                                        mixture contained a white precipitate throughout the reaction.       Principles of Laboratory Animal Care (National Institutes of
                                        The POEZ crystals dissolved completely in ⬇2 h, but, 3 h later,      Health publication no. 85-23, revised in 1985). To obtain the desired
                                        a white precipitate appeared. The precipitate in each case was       N兾P ratios (those of PEI nitrogen to DNA phosphate), appropriate
                                        isolated by filtration, air-dried, dissolved in water, and lyophi-   volumes of PEI stock solutions were diluted to 600 ␮l with 5%
                                        lized. The resultant white powders were confirmed by a combi-        aqueous glucose and added to equal volume of the glucose solutions
                                        nation of NMR (see Results and Discussion) and elemental             containing 420 ␮g of the plasmid DNA (gWiz Luc), followed by
                                        analysis to be pure PEI hydrochlorides. Elemental analysis           pipette mixing. The resulting polyplexes were incubated at room
                                        results of different PEIs were as follows. Commercial PEI25: C,      temperature for 10 min. Then, 6- to 8-week-old C57BL兾6 male mice
                                        49.92; H, 10.31; N, 25.70. PEI25: C, 27.64; H, 6.82; N, 15.26; Cl,   (Taconic Farms) that were under anesthesia were injected retro-
                                        49.53. PEI22: C, 28.34; H, 7.12; N, 15.44; Cl, 37.90. PEI87: C,      orbitally with 200 ␮l of the polyplexes containing 70 ␮g of DNA.
                                        29.02; H, 7.09; N, 15.70; Cl, 47.95. PEI217: C, 29.24; H, 7.31; N,   After 24 h, the mice were euthenized by CO2 inhalation; their lungs,
                                        16.51; Cl, 44.50.                                                    kidneys, livers, hearts, and spleens were collected, washed with PBS,
                                           The starting PEOZs were also subjected to elemental analyses,     and suspended in 400 ␮l of lysis buffer prepared by mixing 4 ml of
                                        and the C兾N ratios obtained were consistent with their molec-        5⫻ passive lysis buffer (Promega), 800 ␮l of 8.7 mg兾ml PMSF
                                        ular formula (C5H9NO; note that for PEI, it is C2H5N). Because       (Sigma–Aldrich) in methanol, 400 ␮l of the protease inhibitor
                                        hydrolysis of PEOZ merely removes propionyl groups, the              mixture (Sigma–Aldrich), and 14.8 ml of water. The samples were
                                        molecular masses of the resultant PEIs could be calculated from      freeze-thawed, homogenized by probe-sonication for 15 s, and
                                        those of the precursors; thus, 50-kDa, 200-kDa, and 500-kDa          centrifuged. The supernatants (10 ␮l, either as such or after dilution
                                        PEOZs yielded 22-kDa, 87-kDa, and 217-kDa PEIs, respectively.        with the buffer) were mixed with 50 ␮l of the luciferase assay
                                           Stock solutions of all of the PEIs were prepared in water and     reagent (Promega), and the luminescence was measured by using an
                                        stored at 4°C (150 mM in -CH2CH2NH- units, pH 2), unless             Optocomp I luminometer (MGM Instruments, Hamden, CT).
                                        stated otherwise. Appropriate dilutions were made immediately        Protein concentrations were determined by using the bicinchoninic
                                        before each experiment.                                              acid assay. The results were expressed as mean ⫾ SD (n ⫽ 5).

                                        pH Titration. Acid titrations were carried out by using a 2-ml       siRNA Delivery in Mice. Polyplexes were prepared at different N兾P
                                        solution of each PEI (113 mM in -CH2CH2NH- units) adjusted           ratios as described above, except that gWizLuc plasmid was
                                        to pH 11.5 with NaOH. Sequential 20-␮l additions of 1 M HCl          replaced by either pd1GL3-RL plasmid (420 ␮g) or fLuc-siRNA
                                        were performed, and the pH after each addition was measured;         (360 ␮g), and the volume of the polyplex solutions was 600 ␮l
                                        a 113 mM solution of NaCl was titrated similarly as a control.       each. DNA兾PEI polyplexes were mixed with either the siRNA兾
                                                                                                             PEI polyplex or an equal volume of the blank glucose solution.
                                        Ethidium Bromide (EtdBr) Displacement Assay. To a 2-ml solution of   Two hundred ␮l of the aforementioned polyplexes containing
                                        gWizLuc DNA (33 ␮g) and EtdBr (5 ␮g) in 10 mM PBS, 5-␮l              either 70 ␮g of DNA or 70 ␮g of DNA plus 60 ␮g of siRNA was
                                        aliquots of 5 mM PEI stock solutions were added sequentially.        injected retroorbitally into anesthetized mice. After 24 h, the
                                        Fluorescence of free EtdBr (FI), fluorescence of EtdBr兾DNA           mice were killed; their lungs, kidneys, livers, hearts, and spleens
                                        (FD), and fluorescence of EtdBr兾DNA after each addition of           were collected and processed as described above by using 400 ␮l
                                        PEI (FC) were recorded (␭ex ⫽ 523 nm and ␭em ⫽ 587 nm, with          of the cell lysis buffer (Marker Gene Technologies, Eugene,
                                        excitation and emission band widths of 5 and 10 nm, respec-          OR). To 10 ␮l of the supernatants (either as such or after
                                        tively). Relative fluorescence values were calculated by using       dilution with the buffer) were added sequentially 50 ␮l of Firefly
                                        [(FC ⫺ FI)兾(FD ⫺ FI)] ⫻ 100%.                                        Luciferase Assay Reagent II and Stop and Glo Reagent (Dual
                                                                                                             Luciferase Assay System, Promega), and the luminescence from
                                        Cell Culture and Transfection. A549 cells (human lung carcinoma)     the samples was measured after each of the two additions. The
                                        from the American Type Culture Collection were cultured in           ratio of the luminescence due to firefly and Renilla Luc in
                                        Ham’s F12K medium (American Type Culture Collection),                the absence of siRNA was used as a control for evaluating the
                                        following the American Type Culture Collection protocol.             suppression of fLuc expression by fLuc-siRNA. The results were
                                        Twenty-four hours before transfection, 1.5 ⫻ 105 cells per well      expressed as mean ⫾ SD (n ⫽ 5).
                                        were plated on Costar six-well tissue culture clusters.
                                           The plasmid DNA (gWiz␤-gal), 1.25 ␮g per well, was used for       Influenza Virus Infection of Mice and Assay of Lung Virus Titers.
                                        transfection. The polyplexes, prepared as described in ref. 16,      Influenza A兾Puerto Rico兾8兾34 (PR8, subtype H1N1) was pro-
                                        were diluted to 3 ml with Ham’s F12K medium containing 10%           vided by Dr. Peter Palese (Mount Sinai School of Medicine, New
                                        FBS and antibiotics immediately before their addition to the         York). Three hours before infection, 200 ␮l of PEI87兾siRNA
                                        cells. Beforehand, the growth medium was removed from each           polyplexes containing either 120 ␮g of NP- or GFP-siRNA
                                        well, and 1.0 ml per well of the aforementioned transfection         (N兾P ⫽ 5) in 5% aqueous glucose was injected retroorbitally into
                                        medium was added, followed by incubation at 37°C in a humid-         each mouse. For infection, 30 ␮l of PBS with 0.3% BSA and 1⫻
                                        ified-air (5% CO2) atmosphere for 24 h. Thereafter, the cells        penicillin兾streptomycin containing 12,000 plaque-forming units
                                        were assayed for ␤-gal expression (14). Total protein was            of the virus was instilled into the nostrils of anesthetized mice.
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                                        estimated from the bicinchoninic acid (Sigma–Aldrich) assay          After 24 h, their lungs were harvested, suspended in 1 ml of PBS
                                        (14). The results were expressed as mean ⫾ SD (n ⫽ 6).               with 0.3% BSA and 1⫻ penicillin兾streptomycin, freeze-thawed

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                                                                                                                            presented as a logarithm of the tissue culture 50% infective
                                                                                                                            dose ⫾ SD (n ⫽ 5). Student’s t test was performed to obtain the
                                                                                                                            P values.

                                                                                                                            Results and Discussion
                                                                                                                            PEI, particularly the branched and linear forms of the 25-kDa
                                                                                                                            polymer, is the premier polycationic vector for nucleic acid
                                                                                                                            delivery (14, 16–23). Branched and linear 25-kDa PEIs are
                                                                                                                            synthesized by different routes. The former is prepared by an
                                                                                                                            acid-catalyzed, ring-opening homopolymerization of aziridine
                                                                                                                            (Fig. 1A) (24) that leads to a multidirectional chain growth. In
                                                                                                                            contrast, the linear PEI is synthesized in two steps. First, PEOZ
                                                                                                                            is obtained by a ring-opening isomerization polymerization of
                                                                                                                            2-ethyl-2-oxazoline (Fig. 1B) in the presence of initiators (25).
                                                                                                                            Then, PEOZ (N-propionyl-PEI) is acid-hydrolyzed to cleave off
                                                                                                                            the N-propionyl groups to yield PEI (26).
                                                                                                                               Because N-deacylations are sluggish, we suspected that the
                                                                                                                            removal of the N-propionyl groups in the commercial PEIs might
                                                                                                                            be incomplete. Indeed, the 1H NMR spectrum of commercial
                                                                                                                            linear PEI25 exhibited a triplet at 1.05 ppm and a doublet at 2.43
                                                                                                                            ppm corresponding to the -CH3 and -CH2- protons of the
                                                                                                                            propionyl moiety, respectively. Based on the ratio of the intensity
                                                                                                                            of the -CH3 signal of propionyl group and the -CH2-CH2- signal




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                                        Fig. 1. Compound structures and syntheses in this study. (A and B) Chemical
                                        structures of aziridine and 2-ethyl-2-oxazoline, respectively. (C) Synthesis of     of the ethylenimine units (2.75 ppm), the extent of removal of the
                                                                                                                            N-propionyl groups in commercial PEI25 was ⬇89%. Because




                                                                                                                                                                                                                     SCIENCES
                                        fully deacylated linear PEI25 by exhaustive acid hydrolysis of its commercial
                                        predecessor. (D) Synthesis of fully deacylated linear PEI22, PEI87, and PEI217 by   the amide (as opposed to amine) nitrogens are nonbasic due to
                                        the acid hydrolysis of PEOZs. Conditions: (i) 24% (wt兾vol) HCl, 110°C, 96 h; k ⫽    the delocalization of their lone electron pairs with the carbonyl
                                        517, l ⫽ 64, m ⫽ 581, PEI25; n ⫽ 504 for 50-kDa PEOZ, 2,018 for 200-kDa PEOZ,       group, DNA binding and proton–sponge capacity of the com-
                                        and 5,044 for 500-kDa PEOZ.                                                         mercial linear PEI25 might be compromised. Therefore, exhaus-
                                                                                                                            tive hydrolysis of the commercial linear 25-kDa PEI, widely used
                                                                                                                            for gene delivery, was carried out by using concentrated HCl at
                                        twice, and homogenized by sonication for 30 s to release the                        110°C, as outlined in Materials and Methods (Fig. 1C). The NMR
                                        virus. This procedure was followed by centrifugation and storing                    spectrum of the resultant polymer revealed no residual N-
                                        the supernatants at ⫺80°C.                                                          propionyl moieties. In addition, three more linear PEIs were
                                           Madin–Darby Canine Kidney (MDCK) (American Type Cul-                             prepared by the same exhaustive acid hydrolysis of their com-
                                        ture Collection)兾hemagglutinin assay was used to estimate the                       mercial precursor PEOZs (Fig. 1D). The fully deacylated PEI25
                                        virus titers. Briefly, MDCK cells (2 ⫻ 104 cells per well; 96-well                  and the PEI22, PEI87, and PEI217 thus produced exhibited a
                                        plates) were cultured in DMEM containing 10% FBS, antibiot-                         singlet at 3.52 ppm by NMR corresponding to -CH2-CH2-NH2⫹-
                                        ics, and glutamine (GIBCO–Invitrogen) according to American                         but no signal corresponding to the N-propionyl moieties, con-
                                        Type Culture Collection protocols. After 12 h, the medium was                       firming their complete removal.
                                        removed, and 25 ␮l of lung homogenates, either undiluted or                            Removal of the residual N-propionyl groups markedly af-
                                        10-fold serially diluted (seven steps), was added into wells in                     fected the acid titration curve of PEI. For instance, at a HCl
                                        triplicate. After incubation for 1 h at room temperature, 175 ␮l                    concentration where the pH of the commercial polycation had
                                        of infection medium (culture medium containing 4 ␮g兾ml tryp-                        already reached 5, that of the fully N-deacylated PEI25 was still
                                        sin) was added to each well, and incubation was continued under                     around pH 8 (Fig. 2A), indicating its much higher buffer capacity
                                        cell culture conditions for 48 h. The presence of the virus in the                  in this pH range. Similarly, the fully deacylated PEI87 also
                                        culture supernatants was determined by hemagglutination of                          exhibited a much enhanced buffering capacity compared with
                                        chicken RBCs (Charles River Laboratories). The virus titers are                     the commercial PEI25 (Fig. 2 A). A greater buffer capacity




                                        Fig. 2. Full deacylation increases the buffer capacity and DNA binding efficiency of linear PEI. (A) Acid titration profiles of aqueous solutions of linear
                                        commercial PEI25 (squares), fully deacylated PEI25 (open circles), linear PEI87 (filled circles), and NaCl as a control (triangles). Solutions (113 mM) were adjusted
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                                        to pH 11.5 at room temperature and then titrated with 1 M HCl. (B) Displacement of the intercalated fluorophore EtdBr from plasmid DNA by linear commercial
                                        PEI25 (squares), fully deacylated linear PEI25 (open circles), and PEI87 (filled circles).


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                                        Fig. 3. The effect of full deacylation of PEIs on their transfection efficiency and toxicity in vitro. (A) Expression of ␤-gal in A549 cells after transfection with
                                        branched (black bars), commercial linear (red bars), and fully deacylated (green bars) PEI25s, as well as linear, hydrolytically pure PEI22 (yellow bars), PEI87 (blue
                                        bars), and PEI217 (pink bars). (B) Cytotoxicities induced by linear polycations: commercial (red circles) and fully deacylated (green triangles) PEI25s, as well as
                                        hydrolytically pure PEI22 (yellow circles), PEI87 (blue squares), and PEI217 (pink diamonds) in A549 cells.



                                        should ensure a more efficient endosomal escape of the poly-                         respectively (Fig. 3A). The fully deacylated PEI22, similar in size
                                        plexes and hence a greater transfection efficiency.                                  to PEI25, exhibited optimal efficiency at N兾P ⫽ 10. In contrast,
                                           Although the difference in the number of protonatable nitro-                      the fully deacylated PEI87 and PEI217 exhibited optimal effi-
                                        gens between the fully deacylated PEI25 and its commercial                           ciencies already at N兾P ⫽ 5. These results suggest that the DNA
                                        counterpart is only 11%, it can have a profound effect on the                        transfection efficiency of linear PEIs in vitro is markedly affected
                                        polycation’s behavior, as illustrated by the following calculation.                  by their extent of deacylation, and the optimal N兾Ps vary with
                                        Given the 43-Da molecular mass of the -CH2CH2NH- unit, the                           their molecular mass.
                                        average number of the -CH2CH2NH- monomers in PEI25 is 581,                              Due to their positive charge, PEIs and other polycations can
                                        which is also the length of the contiguous stretch of potentially                    interact electrostatically with such cellular anionic macromole-
                                        protonatable nitrogens. Assuming a uniform distribution of the                       cules as proteins, various types of RNA, and genomic DNA. This
                                        N-propionyl moieties in the commercial PEI25, its contiguous                         binding impairs the normal cellular functions of these polyan-
                                        stretch of protonatable nitrogens is only 64. This 9-fold differ-                    ions, resulting in toxicity. Thus, we assessed the cytotoxicity of
                                        ence may substantially affect the stability of the polyplexes as                     the fully deacylated PEIs by the 3-(4,5-dimethylthiazol-2-yl)-2,5-
                                        they traverse through the various extracellular and intracellular                    diphenyltetrazolium bromide assay. The cytotoxicity of PEIs is
                                        barriers involved in gene delivery (8). Supporting this notion, the                  known to increase with their molecular mass (16). Indeed, PEI87
                                        branched 2-kDa PEI (47 contiguous nitrogens) is some 100-fold                        and PEI217 were more toxic than PEI22 and PEI25 at high
                                        less efficient in DNA transfection than the 25-kDa counterpart                       concentrations (Fig. 3B). Interestingly, the commercial linear
                                        (14, 16). Furthermore, functionalization of 10% of the nitrogens                     PEI25 was less toxic than its fully deacylated successor, suggest-
                                        of branched PEI25 with lactose, which sterically interferes with                     ing that a higher charge density contributes to the toxic effect,
                                        DNA binding, reduces its DNA transfection efficiency in vitro                        presumably due to stronger electrostatic interactions with cel-
                                        10-fold (27). Thus, interference of intervening nitrogens in PEI                     lular anionic macromolecules. However, none of the PEIs
                                        in forming salt bridges with the contiguous phosphates of DNA                        exhibited appreciable toxicity at concentrations corresponding
                                        can adversely affect DNA condensation (see the next paragraph)                       to the N兾P ratios of up to 20 in our in vitro transfection
                                        and reduce the transfection efficiency.                                              experiments (Fig. 3B, top x axis). Moreover, unlike PEI25 and
                                           That the higher content of the protonatable nitrogens would                       PEI22, PEI87 and PEI217 exhibited optimal efficiencies at N兾P
                                        increase PEI’s DNA condensation capacity was verified by                             ratios as low as 5 and, therefore, can be used at half the
                                        f luorescence spectroscopy using an EtdBr displacement assay.                        concentration to minimize toxicity while still achieving optimal
                                        EtdBr, a DNA intercalator, exhibits ⬇10-fold greater f luores-                       transfection efficiency.
                                        cence emission upon binding to DNA. Condensation of DNA                                 To test the effect of the full deacylation of PEIs on their in vivo
                                        by PEI distorts the double helix and consequently displaces                          gene delivery, we used a mouse model of systemic delivery.
                                        EtdBr, thus quenching its f luorescence. This method has been                        Linear commercial PEI25, fully deacylated PEI25 and PEI87
                                        successfully used to compare the relative DNA condensation                           (whose in vitro efficiencies resemble those of PEI22 and PEI217,
                                        efficiencies of polycations and cationic lipids (28, 29). We                         respectively), as well as branched PEI25, were selected for these
                                        found that fully deacylated PEI25 indeed displaced EtdBr                             experiments. The polyplexes were prepared at the N兾P ratios of
                                        from DNA far more efficiently (and PEI87 even more so) than                          5, 7.5, and 10 for all PEI25s. Because PEI87 exhibited similar
                                        its commercial predecessor (Fig. 2B), hence supporting our                           efficiencies in this N兾P range in vitro, in addition to the 5 and 7.5,
                                        underlying hypothesis.                                                               an N兾P ratio of 3.75 was also used for in vivo experiments. Thus,
                                           To compare the transfection efficiency of fully deacylated                        DNA-encoding fLuc gene was complexed with various PEIs and
                                        PEIs and their commercial counterparts, polyplexes were tested                       administered into mice, and Luc activities in various organs were
                                        at the N兾P ratios of 5, 7.5, and 10. The results are shown in Fig.                   assayed 24 h after delivery.
                                        3A. Both branched and linear commercial PEI25s exhibited                                As seen in Fig. 4A, at the N兾P ratios of 5 and 7.5, the polyplexes
                                        similarly low efficiencies at all of the N兾P ratios tested. Complete                 of commercial linear PEI25 exhibited the highest gene expres-
                                        deacylation of linear PEI25 increased its optimal transfection                       sion in the spleen; at N兾P ⫽ 10, similar expression was observed
                                        efficiency 21-fold. The fully deacylated PEI22, PEI87, and                           in the lung. Raising the N兾P ratio from 5 to 7.5 and to 10
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                                        PEI217 were even more efficient compared with the commercial                         enhanced the gene expression in the spleen 9 and 18 times,
                                        linear PEI25; their Luc activity rose 58-, 115-, and 116-fold,                       respectively, and enhanced the gene expression in the lung 21

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                                        Fig. 4. Comparison of the delivery efficiencies to different organs in mice of a plasmid containing the luciferase gene mediated by different PEIs. Commercial
                                        linear (A) and branched (B) PEI25s, as well as hydrolytically pure linear PEI25 (C) and PEI87 (D), were used. Only the mean values are shown.



                                        and 176 times, respectively (Fig. 4A). Note that the Luc expres-                    The foregoing results suggest that fully deacylated linear PEIs
                                        sion levels were low, ⬍104 relative light units兾mg of protein (Fig.              may be used for the targeted nucleic acid delivery to the lung. We
                                        4A). As in vitro, branched PEI25 exhibited low efficiency in gene                explored this possibility with the fully deacylated linear PEIs to
                                        delivery in vivo, comparable to that of its linear commercial                    deliver siRNAs to the mouse lung. We first used a siRNA specific
                                        counterpart (Fig. 4B). The organ specificity of branched PEI25                   for a model reporter gene, fLuc. The plasmid used (pd1GL3-RL)
                                        was also poor, with the polyplexes formed at the N兾P ratios of                   contained two Luc genes, firefly and Renilla Luc, and hence
                                        5 and 7.5 having similar expressions in the lung and the spleen.                 allowed examination of the selective suppression of fLuc expres-
                                        Moreover, the polyplexes formed by this polycation were highly                   sion by a siRNA specific for this gene (fLuc-siRNA) alone. Mice
                                        toxic at N兾P ⫽ 10, causing the death of all of the mice injected                 were administered PEI兾pd1GL3-RL polyplexes (N兾P ⫽ 10 and
                                        with them.                                                                       5, respectively, for PEI25 and PEI87) alone or in the presence of
                                           The fully deacylated PEI25 exhibited dramatically higher                      PEI兾fLuc-siRNA polyplexes at different N兾P ratios. The ratios
                                        transfection efficiency than its commercial counterpart, with                    of fLuc and Renilla Luc activities in the lung was used to estimate
                                        maximum Luc activity soaring to 108 relative light units兾mg of                   the siRNA delivery efficiency. The polyplexes of PEI25 with
                                        protein (Fig. 4C). At N兾P ⫽ 5, the highest expression was                        fLuc-siRNA at the N兾P ratios of 5 and 7.5 afforded a 76 ⫾ 5%
                                        observed in the spleen, followed by the lung, with the difference                and 77 ⫾ 3% suppression of the fLuc activity, respectively. The
                                        between the two being an order of magnitude. However, when                       PEI87兾fLuc-siRNA polyplexes at the N兾P ratios of 3.75 and 5
                                        the N兾P ratio was raised to 7.5 and 10, the gene expression in the               were more potent, resulting in a 92 ⫾ 2% and 93 ⫾ 3%
                                        lung rose 4 orders of magnitude, whereas that in the spleen                      suppression of the fLuc activity, respectively. These results
                                        merely doubled (Fig. 4C). Thus, upon the complete deacylation                    demonstrate that fully deacylated PEI25 and PEI87 are effective
                                        of commercial linear PEI25, its ability to deliver DNA to the
                                        mouse lung jumped 10,000-fold, and the lung-versus-spleen
                                        specificity increased 1,500-fold (at the optimal N兾P ratio of 10;                Table 1. Inhibition of virus production in the lungs of
                                        Fig. 4 A and C).                                                                 influenza-infected mice by delivering influenza nucleoprotein
                                           PEI87, as in vitro, exhibited optimal transfection efficiency at              siRNA mediated by linear, hydrolytically pure PEI87
                                        N兾P ⫽ 5 (Fig. 4D). The highest gene expression was observed in                                               Mean virus titer        Decrease in
                                        the lung, followed by the spleen. The level of expression for                    Challenge                    in the lung*            viral titer      P value
                                        PEI87 in the lung was 3 times the PEI25’s but the organ
                                        specificity (lung vs. spleen) was lower, although still 200-fold.                5% glucose (control)            3.08 ⫾ 0.4               —               —
                                           A plausible reason for the preferential gene expression in the                PEI87兾GFP-siRNA                 3.00 ⫾ 0.0               1.2           0.64
                                        lung is that more polyplexes are taken up by it than by other                    PEI87 alone                     3.00 ⫾ 0.0               1.2           0.64
                                        organs. Because lung is highly vascularized and has a larger                     PEI87兾NP-siRNA                  1.86 ⫾ 0.5              16.6           0.002
                                        surface area (30), the uptake of the polyplexes should be                          —, not applicable.
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                                        facilitated. Also, the lung contains the first capillary beds                    *Expressed as logarithm of the tissue culture 50% infective dose; see Materials
                                        traversed by intravenously injected materials.                                    and Methods for details.


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                                        in delivering not only plasmid DNA, but also siRNA, in vivo;                             In closing, we have demonstrated that by removing the
                                        hence, the latter strategy may be exploited for combating                             residual N-acyl moieties and hence maximizing the number of
                                        infectious diseases affecting the lung, such as influenza.                            protonatable nitrogens of linear PEIs, the polycations’ in vitro
                                           Influenza virus production can be inhibited by siRNAs specific                     gene delivery efficiency, as well as in vivo efficiency and speci-
                                        for different viral genes, especially those encoding the NP (31).                     ficity, could be enhanced by several orders of magnitude.
                                        Therefore, polyplexes of PEI87 with siRNA specific for NP                             Moreover, effective suppression of the influenza virus titers in
                                        (NP-siRNA) were administered retroorbitally (N兾P ⫽ 5, 120 ␮g
                                                                                                                              the mouse lung by delivering the resultant polyplexes with a
                                        siRNA). Mice were then infected with influenza virus intrana-
                                        sally, and, 24 h later, the virus titers in lungs were measured.                      therapeutically relevant siRNA was demonstrated. Because our
                                        When PEI兾NP-siRNA polyplexes were given, the virus titer in                           methodology for the preparation of hydrolytically pure linear
                                        the lungs of influenza-infected mice plunged by as much as 17                         PEIs is simple and straightforward, the findings reported here
                                        times after 24 h (P ⫽ 0.002) (Table 1). In contrast, the mice                         should facilitate both basic and clinical research employing
                                        treated with the PEI87兾GFP-siRNA polyplexes or with the free                          polycation-mediated gene and siRNA delivery.
                                        PEI87 under otherwise the same conditions produced no sig-
                                        nificant decrease in virus titers (1.2 times reduction; P ⫽ 0.64 in                   This work was supported by National Institutes of Health Grants
                                        both cases). Note that the observed 94% drop in the virus titer                       EB000244 (to A.M.K.) and AI56267 (to J.C.) and by the National
                                        in the lung is highly significant therapeutically, because previous                   Science Foundation-funded Biotechnology Process Engineering Center
                                        vaccine development studies have shown that even a 90%                                at Massachusetts Institute of Technology (A.M.K.). J.J.L. thanks the
                                        reduction in the virus titer leads to the survival from a lethal                      National Science and Engineering Research Council of Canada for a
                                        challenge (32).                                                                       Postdoctoral Fellowship.


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